UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

Charlottesville Division
ELIZABETH SINES, et al.,
Plaintiffs,
Vs. : Case No. 3:17-cv-00072-NKM
JASON KESSLER, et al.,
Defendants.

DEFENDANT SPENCER’S OPPOSITION TO MOTION FOR SANCTIONS AGAINST
DEFENDANTS KLINE AND HEIMBACH

I. Introduction

Plaintiffs' Motion for Sanctions Against Defendants Elliot
Kline a/k/a Eli Mosley (Kline) and Matthew Heimbach (Heimbach)
should be denied to the extent that it seeks sanctions that
would adversely affect the defense of Defendant Richard B.
Spencer (Mr. Spencer). Mr. Spencer has not violated any court
order, is not the subject of any motion for sanctions and should
not be saddled with the consequence of any alleged defiance of
this Court's orders by Defendants Kline and Heimbach.

II. Facts

Plaintiffs accuse Heimbach and Kline of defying this

Court's discovery-related orders.? Nowhere, however, do they

accuse Mr. Spencer of any such defiance.

 

* Memorandum of Law In Support of Plaintiffs’ Motion for Sanctions Against Defendants Elliot Kline a/k/a Eli

Mosley and Matthew Heimbach (hereinafter "Memorandum) at pp. 1-3 and 5-12.
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Yet Plaintiffs seek sanctions that are not tailored to
Defendants Heimbach and Kline, but instead seek sanctions that
would apply to all Defendants, including Mr. Spencer.

Plaintiffs seek the following:

1. "[t]hat the Court deem the facts listed in the attached
Exhibit 1 established for purposes of this action";

2. "{thjat the Court deem ‘authentic’ for purposes of
satisfying Rule 901 of the Federal Rules of Evidence any
documents Plaintiffs have a good faith basis to believe were in
fact created by Defendants Kline or Heimbach, including, but not
limited to, all documents from the social media accounts listed
in Exhibit 1";

3. "[tjhat the Court instruct the jury that ... such
documents contain evidence that Defendant Kline and Heimbach
conspired to plan racially-motivated violence at the Unite the
Right event. "?

In Exhibit 1, Plaintiffs list various "facts" that they
want the Court to deem established "for purposes of this action"
and various categories of documents -- none attached or
otherwise identified? -- that they want the Court to deem

authentic.’

 

> Memorandum at p. 2.
* For example, Plaintiffs do not identify any documents by Bates numbers, so Mr. Spencer does not even know
whether any of the referenced documents were produced, let alone know what their content is.
* Exhibit 1 at p. 1.
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Plaintiffs do not in any way limit the proposed findings of
fact to their cases against Heimbach and Kline. Nor do they
limit any determination of authenticity to their cases against
those Defendants.

III. Argument

A. The Purpose of Rule 37 is to Authorize
Sanctions Against a Non-Compliant Party.

Rule 37, Fed. R. Civ., provides, in pertinent part, that,

[i]f a party ... fails to obey and order to
provide or permit discovery ... the court where
the action is pending may issue further just
order.

Rule 37(b(2).

Thus, sanctions may be levied under Rule 37 only against a
party that fails to obey an order or to permit discovery. See
Mutual Federal Savings and Loan Association vs. Richards &
Associates, Inc., 872 F.2d 88, 92 (4th Cir. 1989) ("Rule 37(d)

gives the district court wide discretion to impose sanctions
for a party's failure to comply with its discovery orders.").

B. Sanctions Against a Non-Compliant Party
Should Not Adversely Affect Another Party.

In determining what sanctions to impose on a non-compliant
party, the Court should consider the impact of such sanctions on
another party that either is not in violation of a court order
or, although in violation of an order, is not as culpable as

another non-compliant party. Cf. Li vs. A Perfect Day

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Franchise, Inc., 281 F.R.D. 373, 392 (N.D. Cal. 2012) (court
denied request for entry of default judgment against various
defendants that were "not equally culpable for the discovery
violations that have occurred," observing that "[e]ntering
default judgments against all Defendants except Jin Qiu would be
an over-inclusive remedy, and would potentially allow Plaintiffs
to obtain a windfall without ever reaching the merits of the
wage and hour claims").
Analysis
1. Mr. Spencer Has Met His Discovery Obligations.

Although Plaintiffs are wont to refer to Defendants
collectively when criticizing a particular allegedly
recalcitrant Defendant, they have not alleged that Mr. Spencer
has failed to meet his discovery-related obligations.

2. Yet Plaintiffs Impermissibly Seek Findings of Fact That
Would Eviscerate Mr. Spencer's Defenses.

Plaintiffs seek determinations that would negate Mr.
Spencer's defenses.

For example, Plaintiffs ask this Court to find that
Defendant Heimbach and Kline:

1. "entered into an agreement with one or more co-
conspirators to plan the Unite the Right event that took place

in Charlottesville, Virginia on August 11 and 12, 2017;"°

 

> Exhibit 1 at pp. 1-2 at Items 3 and 16..

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2. “entered into an agreement with one or more co-
conspirators to engage in racially motivated violence in
Charlottesville, Virginia on August 11, 2017" and on August 12,
2017;°

3. were "motivated by animus against racial minorities,
Jewish people, and their supporters when conspiring to engage in
acts of intimidation and violence on August 11 and 12, 2017 in
Charlottesville, Virginia";’

4. "Ti]t was reasonably foreseeable to [them] and intended
by [them] that co-conspirators would commit acts of racially-
motivated violence and intimidation at the torch light event in
Charlottesville, Virginia on August 11, 2017" and August 12,
2017;°

5S. "[i]t was reasonably foreseeable to [them] and intended
by [them] that a co-conspirator would engage in racially-
motivated violence by intentionally ramming a car into a crowd
of counterprotesters on August 12, 2017."

In short, they ask the Court to find as follows:

a. that a conspiracy existed;

b. that the conspiracy consisted of an agreement to engage

in racially, ethnically and religiously motivated violence; and

 

Exhibit 1 at pp. 1-2 at Items 4-5 and 17-18..
Exhibit 1 at pp. 1-2 at Items 6 and 19.
Exhibit 1 at pp. 1-2 at Items 7-8 and 20-21.
Exhibit 1 at pp. 1-2 at items 9 and 22.

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c. that it was foreseeable that a co-conspirator would
commit racially motivated violence, including driving a car into
counter-protesters.

All such findings are so broad as to sweep Mr. Spencer
within their ambit and would result in Mr. Spencer being
deprived of his rights to due process and trial by jury.’®

No such instructions -- indeed, no instruction that
adversely affects Mr. Spencer-- is permissible under Rule 37
because Mr. Spencer is not even accused of any wrongdoing.

3. Plaintiffs Seek to Deny Mr. Spencer
the Ability to Object to Evidence.

Plaintiffs also ask the Court to disregard the Federal
Rules of Evidence and treat various unidentified (and, perhaps,
unproduced) documents as authentic -- including as against
Defendants other than Heimbach and Kline.

Indeed, they appear to go so far as to ask the Court to
treat as authentic anything they believe could have been created
by those Defendants -- without identifying the referenced
documents with specificity (such as that found in Rule 26

disclosures or exhibit lists), without setting forth some

 

70 Cf. Mutual Federal Savings and Loan Association vs. Richards & Associates, Inc., 872 F..2d 88, 92 (4th Cir.

1989){assessment of nature of sanction is affected by defendants "right to a trial by jury and a fair day in
court")(citing Wilson vs. Volkswagen of America, inc., 561 F.2d, 494, 503-504 (4th Cir. 1977), cert. denied, 434 U.S.
1020 (1978)).

Query, too, whether Plaintiffs will ask the Court to instruct the jury of these proposed determinations. If any
such determinations were announced to the jury they would cause the jury to conclude that not only was there a
conspiracy of the sort that Plaintiffs allege, but that other persons, including Mr. Spencer, must have been part of
it.

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foundation as to why they believe that Heimbach or Kline created
the documents and without explaining why non-recalcitrant
Defendants, such as Mr. Spencer, can be deprived of the right to
cross-examine a witness through whom such a document is to be
introduced and thereby challenge the alleged authenticity of the
documents.”

In so asking, Plaintiffs seek to deprive Mr. Spencer of his
right to due process, including his right to have the Court rule
on the authenticity of documents and his right to cross-examine
witnesses.

4. There are Alternative Sanctions that Would Not
Result in a Deprivation of Mr. Spencer's Rights.

If this Court finds that sanctions against Heimbach and
Kline are warranted, this Court can appropriately sanction them
without depriving Mr. Spencer of his constitutional rights. For
example, the Court could "prohibit ... [them] from ... opposing
designated claims ... or from introducing designated matters in

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evidence or it could "render .. a default judgment against

[them] ."?3

 

4 Plaintiffs’ request also implicates Fed. R. Civ. P. 801. Plaintiffs themselves argue that, without Heimbach and

Kline cooperating in discovery, they cannot ascertain who created the referenced documents; thus, they impliedly
acknowledge that the documents might have been created by someone who is not a defendant and who is not an
alleged co-conspirator. If the Court were to deem the documents as authentic ( because putatively they were
created by Defendant Heimbach and Defendant Kline), when in fact a non-party or non-conspirator created them,
the Court would be admitting hearsay. Mr. Spencer submits that this would deprive him of his right to a fair trial.

2 Rule 37(b)(A)(ii).

8 Rule 37(b)(A)(vi).

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III. Conclusion
For these reasons and those to be advanced at oral argument
herein, the Motion should be denied.
Respectfully submitted,

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CERTIFICATE OF SERVICE
I hereby certify that, on April 17, 2019, I filed the
foregoing Opposition with the Clerk of Court through the CM/ECF
system, which will send a notice of electronic filing to all
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I further certify that, on April 17, 2019, I served the
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